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                             UNITED STATES BANKRUPTCY COURT

                                 DISTRICT OF SOUTH CAROLINA


 In re:                                               Case No. 23-00184-eg

 Scott Matthew Huggins
                                                      Chapter 13
                      Debtor.
                                                           CONSENT ORDER TO RESOLVE
                                                               CLAIMS OBJECTION


          This matter comes before this Court upon the joint motion of the Debtor and Louise
Grant (“Creditor”), and with the consent of the Chapter 13 Trustee.


          The parties have two (2) matters before the Court that are to be addressed by this consent
order:


          1.     Debtor’s Objection to Claim of Creditor, filed April 25, 2023, (Objection to
                 Claim), set for hearing June 22, 2023 at 10:30 am.
          2.     Adversary Proceeding filed by Debtor removing state court litigation to determine
                 the property rights between the Debtor and Creditor and the dischargeablity of
                 debt, case no. 23-80013-eg filed February 22, 2023 (Adversary Proceeding),
                 currently pending with pretrial conference hearing anticipated.


          The parties recognize that the outcome and/or resolution of the Adversary Proceeding would
affect the Objection to Claim. Accordingly, the parties request that the Court remove the Objection
Claim from the court docket without prejudice with the understanding that the claim and the
Objection to Claim will be addressed through the Adversary Proceeding.




          NOW, THEREFORE, upon good cause shown,


          IT IS HEREBY ORDERED:
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        1.       The Objection to Claim and the Response are hereby removed from the docket,
and are to be resolved through the Adversary Proceeding.

        2.       The Objection to Claim and the Response are hereby removed from the docket without
prejudice and without costs with the right of the parties, upon good cause shown on or before October 20,
2023, to file a motion to restore this matter to the docket or to seek an extension of the deadline. Upon
failure to timely request restoration of this action or seek an extension of the deadline, the Objection to
Claim shall be deemed overruled without prejudice and without costs.



        AND IT IS SO ORDERED.


 FILED BY THE COURT
     06/21/2023




                                                          Elisabetta G. M. Gasparini
                                                          US Bankruptcy Judge
                                                          District of South Carolina


   Entered: 06/21/2023




        WE SO MOVE AND CONSENT:
                                                        /s/ J. Ronald Jones, Jr.
 Markham Law Firm, LLC                                  J. Ronald Jones, Jr.
 /s/Sean Markham                                        U.S. District Court ID 5874
 Sean Markham, I.D. # 10145                             Smith Debnam Narron Drake
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